UNITED STATES COURT OF INTERNATIONAL TRADE


   SECOND NATURE DESIGNS LTD.
                                                                                        SUMMONS
                                                            Plaintiff,
                                        v.                                              Court No. 17-00271
   UNITED STATES,                                           Defendant.



TO:        The Attorney General and the Secretary of the Treasury:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C. 1581(a) to
contest the denial of the protest specified below (and the protests listed in the attached schedule).

                                                                        /s/ Tina Potuto Kimble
                                                                 Clerk of the Court

                                                                PROTEST
 Port of                                                                 Date Protest
 Entry:     0901 Buffalo, New York                                       Filed:       see attached list
            3801 Detroit, MI

 Protest                                                                 Date Protest
 Number: see attached list                                               Denied:      see attached list.

 Importer: Second Nature Designs Ltd.

 Category of
 Merchandise: Dried or bleached botanicals

                                             ENTRIES INVOLVED IN ABOVE PROTEST
       Entry Number          Date of Entry    Date of                    Entry Number             Date of Entry   Date of Liquidation
                                              Liquidation

      See attached list.




   Port Director of Customs,
   U.S. Customs & Border Protection                                                   Maria Celis, Esq.
   726 Exchange Street, Room 400                                                      NEVILLE, PETERSON LLP
   Buffalo, New York 14210                                                            One Exchange Plaza, 55 Broadway
                                                                                      New York, New York 10006
   Port Director of Customs                                                           (212) 635-2730
   2810 B West Fort Street, Suite #123
   Detroit, MI 48216

                                                                                    Name, Address and Telephone Number of Plaintiff’s
Address of Customs District in Which Protest Was Denied
                                                                    1               Attorney
CONTESTED ADMINISTRATIVE DECISION
                                                Appraised Value of Merchandise

                                                        Statutory Basis                             Statement of Value

 Appraised:




 Protest Claim:



                                                 Classification, Rate or Amount
                                  Assessed                                          Protest Claim

 Merchandise                 Paragraph or Item               Rate                 Paragraph or Item               Rate
                                 Number                                               Number

 Dried or bleached               0604.90.60             7% ad valorem                0604.90.30           Duty free
 botanicals, which are
 subsequently dyed or
 painted




                                                             Other




 The issue which was common to all such denied protests:

         Classification of the subject merchandise.


Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person in
his behalf. The category of merchandise specified above was involved in each entry of merchandise included in every such
denied protest. The issue or issues stated above were common to all such denied protests. All such protests were filed and
denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at the port of entry
unless otherwise shown.

                                                                            /s/Maria E. Celis
                                                           Signature of Plaintiff’s Attorney

                                                            November 17, 2017
                                                                     Date




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                                       SCHEDULE OF ENTRIES

 Protest No.     Date Protest Denied         Entry No.       Entry Date   Liquidation Date
0901‐16‐100029         5/23/17             551‐37742017        7/9/15         8/28/15
                                           551‐17825501       7/25/15          9/4/15
                                           551‐37746174       7/22/15          9/4/15
                                           551‐37746604       7/26/15          9/4/15
                                           551‐37746620       7/27/15          9/4/15
                                           551‐37746703       7/23/15          9/4/15
                                           551‐37747008       7/26/15          9/4/15
                                           551‐37747016       7/26/15          9/4/15
                                           551‐37765877       7/23/15          9/4/15
                                           551‐37766107       7/27/15          9/4/15
                                           551‐37766677       7/28/15          9/4/15
                                           551‐37780603       8/3/15          9/25/15
                                           551‐37792053       8/25/15         9/25/15

0901‐16‐100040         5/23/17             551‐37709172       9/24/15         10/6/15
                                           551‐37723751      10/20/15        10/30/15
                                           551‐37737389       7/17/15        11/6/15
                                           551‐37737058       7/16/15        1/22/16
                                           551‐37737223       7/16/15        1/22/16
                                           551‐37737371      7/17/2015       1/22/16
                                           551‐37738825        7/9/15        1/22/16
                                           551‐37745051      7/17/2015       1/22/16
                                           551‐37765190      7/16/2015       1/22/16
                                           551‐68728901       1/27/16        2/10/16
                                           551‐68864375        2/4/16        2/17/16

0901‐16‐100143         5/23/17             551‐37788408      8/24/2015        7/8/2016
                                           551‐37687824      9/1/2015        7/15/2016
                                           551‐37700536      9/4/2015        7/15/2016
                                           551‐37783789      9/3/2015        7/15/2016
                                           551‐37792525      9/4/2015        7/15/2016
                                           551‐37701377      9/15/2015       7/29/2016
                                           551‐37702110      9/15/2015       7/29/2016
                                           551‐37773731       8/10/15         6/24/16
                                           551‐37773749       8/10/15         6/24/16
                                           551‐37787863       8/21/15          7/1/16
                                           551‐37787582       8/20/15          7/1/16
                                           551‐37791220       8/18/15          7/1/16
                                           551‐37794182       8/19/15          7/1/16
                                           551‐37675563       8/24/15          7/8/16


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0901‐16‐100181    5/23/17   551‐36575159     8/21/15      7/1/16
                            551‐37675738     8/27/15      7/1/16
                            551‐37676207     8/31/15     7/15/16
                            551‐37689093     9/18/15     7/29/16
                            551‐37692709     8/31/15     7/15/16
                            551‐37692956     9/3/15      7/15/16
                            551‐37692972     9/3/15      7/15/16
                            551‐37693095     9/4/15      8/12/16
                            551‐37693145     9/4/15      7/15/16
                            551‐37693582     9/11/15     7/22/16
                            551‐37604051     9/16/15     7/29/16
                            551‐37692550     8/27/15      7/8/16
                            551‐37694689     9/23/15      8/5/16
                            551‐37694820     9/24/15      8/5/16
                            551‐37720161     9/29/15     8/12/16
                            551‐37720914     10/2/15     8/12/16
                            551‐37722605    10/14/15     8/26/16
                            551‐37728610    10/13/15     8/26/16

 0901‐16‐100212   5/23/17   551‐37742181    7/10/2015   5/20/2016
                            551‐37772733    7/25/2015    6/3/2016
                            551‐37747214    7/28/2015   6/10/2016
                            551‐37758625    7/27/2015   6/10/2016
                            551‐37790131    8/10/2015   6/24/2016
                            551‐37782955    8/28/2015    7/1/2016
                            551‐37790909    8/17/2015    7/1/2016
                            551‐37791709    8/20/2015    7/1/2016
                            551‐37792251    8/26/2015    7/8/2016
                            551‐37777450    8/28/2015    7/8/2016
                            551‐37789885    9/2/2015    7/15/2016
                            551‐37717746    9/16/2015   7/29/2016
                            551‐37710048    9/29/2015   8/12/2016
                            551‐37726812    10/7/2015   8/19/2016
                            551‐37727729    10/5/2015   8/19/2016
                            551‐37722522   10/16/2015   8/26/2016
                            551‐37729246   10/19/2015    9/2/2016
                            551‐37800435   10/20/2015    9/2/2016
                            551‐37800922   10/27/2015    9/9/2016
                            551‐37825150   10/27/2015    9/9/2016
                            551‐37825168   10/27/2015    9/9/2016
                            551‐37801391   10/30/2015    9/9/2016
                            551‐37801409   10/30/2015    9/9/2016
                            551‐37811002   10/30/2015    9/9/2016
                            551‐37811010   10/30/2015    9/9/2016
                            551‐37708638    9/22/2015   9/16/2016
                                4
                          551‐37802480   11/10/2015   9/23/2016
                          551‐37845414   11/16/2015   9/30/2016
                          551‐37827974   11/24/2015   10/7/2016
                          551‐37812349    12/8/2015   10/21/2016
                          551‐37856759   12/16/2015   10/28/2016
                          551‐37890774   12/16/2015   10/28/2016
                          551‐19660633   11/19/2015   9/30/2016
                          551‐19806343   11/30/2015   10/14/2016
                          551‐37802035    11/6/2015   9/16/2016
                          551‐37802530   11/10/2015   9/23/2016
                          551‐37804155   11/18/2015   9/30/2016
                          551‐37806762    11/6/2015   9/16/2016
                          551‐37825598    11/2/2015   9/16/2016
                          551‐37827701   11/23/2015   10/7/2016
                          551‐37840985    11/2/2015   9/16/2016
                          551‐37841207    11/3/2015   9/16/2016
                          551‐37841215    11/3/2015   9/16/2016
                          551‐37841892   11/16/2015   9/30/2016
                          551‐37843781   11/30/2015   10/14/2016
                          551‐37845976   11/19/2015   9/30/2016
                          551‐37855363    12/4/2015   10/14/2016
                          551‐37890717   12/15/2015   10/28/2016
                          551‐37890808   12/15/2015   10/28/2016
                          551‐38961608   12/15/2015   10/28/2016
                          551‐38992140   10/26/2015    9/9/2016
                          551‐68106991   12/15/2015   10/28/2016

0901‐17‐100253   6/5/17   551‐37896623     2/12/16     12/2/16
                          551‐37849093    12/23/15     11/4/16
                          551‐37857245    12/21/15     11/4/16
                          551‐37885535    12/21/15     11/4/16
                          551‐37885725    12/23/15     11/4/16
                          551‐68268783    12/24/15     11/4/16
                          551‐37849390     1/5/16      11/18/16
                          551‐68371330     1/5/16      11/18/16
                          551‐37873762     1/15/16     11/25/16
                          551‐68503189     1/13/16     11/25/16
                          551‐68504377     1/13/16     11/25/16
                          551‐68647291     1/22/16     12/2/16
                          551‐68649610     1/22/16     12/2/16
                          551‐37858375     1/27/16     12/9/16
                          551‐68728984     1/27/16     12/9/16
                          551‐68759898     1/29/16     12/9/16

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                            551‐68763197   1/29/16    12/9/16
                            551‐37895559   2/1/16     12/16/16
                            551‐68864409   2/4/16     12/16/16
                            551‐68864433   2/4/16     12/16/16
                            551‐37863995   1/22/16    12/2/16
                            551‐68676084   1/25/16    12/9/16
                            551‐68897656   2/8/16     12/23/16
                            551‐69049901   2/17/16    12/30/16
                            551‐69053465   2/17/16    12/30/16
                            551‐69073539   2/18/16    12/30/16
                            551‐69074651   2/18/16    12/30/16
                            551‐69074875   2/18/16    12/30/16

0901‐17‐100413    7/6/17    551‐74194023   12/20/16    1/3/17
                            551‐74011573    12/9/16   1/13/17
                            551‐69853328   12/26/16   2/17/17
                            551‐70146746   12/14/16   3/10/17

3801‐16‐100096   10/30/17   551‐1953945    11/13/15   11/27/15

3801‐16‐100282   10/20/17   551‐18311493   8/26/15     7/8/16
                            551‐18539770   9/10/15    7/22/16
                            551‐18603519   9/14/15    7/29/16

3801‐16‐100334   10/20/17   551‐18311980   9/9/15      7/8/16
                            551‐18649967   9/28/15    7/29/16

3801‐16‐100356   10/20/17   551‐37784134    9/9/15    7/22/16
                            551‐19382162    11/7/15   9/16/16
                            551‐19553457   11/13/15   9/23/16




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